Case 1:17-cr-00582-JMS-RLP Document 41 Filed 10/20/17 Page 1 of 1                                           PageID #: 220




HIG 011 Request lor Maoia Blogsing
AiDondod 03''201S




                                                       UNITED STATES DISTRICT COURT

                                                             DISTRICT OF HAWAII


                                                          Request for Media Blogging

                        The undersigned requests that the court aliow blogging during the proceeding(s) described
                        below. Requests must be emailed to the presiding judge's email address for orders. For matters
                        calendared at least 28 days in advance, requests must be received by the court 14 days prior to the
                        start of the proceeding. For matters calendared less than 28 days in advance, requests must be
                        made as soon as practicable.


                          Case Name:       USA \}'> .                            Case No,       in -
                          Presiding District or Magistiute Judge;
                           Media Outlet:

                          Representative(s):                                 ^
                          Email Address To        rnmplpted
                                                  Completed Request Form:                       ^ c^-c^ ,                     •
                         □ Permission being sought for the following hearing(s):

                                               Date         Time                   Hearing Type

                                           io/io/in 11 '30




                           DATED:                          SIGNATURE;

                                                           PRINTED NAME;




                         IT IS so ORDERED.


                     ^^APPROVED                ^APPROVED AS MODIFIED | |d
                           DATED:                 j )7
